

Patterson v Beth Abraham Nursing Home (2023 NY Slip Op 01166)





Patterson v Beth Abraham Nursing Home


2023 NY Slip Op 01166


Decided on March 07, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 07, 2023

Before: Renwick, J.P., Singh, Kennedy, Mendez, Rodriguez, JJ. 


Index No. 303495/16E Appeal No. 17464 Case No. 2022-03621 

[*1]Hermine A. Patterson etc., Plaintiff-Appellant,
vBeth Abraham Nursing Home, Defendant-Respondent.


Roger M. Newyear, Bronx, for appellant.
Vaslas Lepowsky &amp; Hauss LLP, Staten Island (Edward F. Humphries of counsel), for respondent.



Order, Supreme Court, Bronx County (Julia I. Rodriguez, J.), entered on or about February 7, 2022, which denied plaintiff's motion to renew her previous motion to strike defendant's answer, unanimously affirmed, without costs.
The court properly denied plaintiff's motion to renew, as defendant's alleged noncompliance with the order resolving the underlying motion does not provide a basis for a motion to renew (see  CPLR 2221[e][2], [3]). To the extent plaintiff's motion sought relief pursuant to CPLR 3126, the court providently exercised its discretion in denying the request to strike defendant's answer because defendant had satisfied its obligation to provide all relevant documents within its possession and control and an affidavit concerning its search for responsive documents (see Youwanes v Steinbrech , 193 AD3d 492, 492 [1st Dept 2021]).
We have considered plaintiff's remaining arguments and find them unavailing. 	
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 7, 2023








